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                                                        United States District Court
                                                        Central District of California


 UNITED STATES OF AMERICA vs.                                               Docket No.             SA CR 25-00104-ODW

 Defendant           Luis Fernando Choc-Paul                                Social Security No. N          O   N   E
 akas:                                                                      (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH   DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.      July    7    2025

  COUNSEL                                                              Amy M. Karlin, DFPD
                                                                            (Name of Counsel)

     PLEA              GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO            NOT
                                                                                                               CONTENDERE        GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Count 1: 8:1326(a),(b)(1) ILLEGAL ALIEN FOUND IN THE UNITED STATES FOLLOWING DEPORTATION
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of:

                     TIME SERVED on the Single-Count Indictment.

It is ordered that defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be paid at $25 per quarter, and pursuant to the Bureau of Prisons'
Inmate Financial Responsibility Program.


Pursuant to Section 5E1.2(e) of the Guidelines, all fines are waived, as it is found that defendant does not
have the ability to pay a fine.


Upon release from imprisonment defendant shall be placed on supervised release for a term of One (1) year
under the following terms and conditions:



1.       The defendant shall comply with the rules and regulations of the United States Probation and Pretrial
         Services Office General Order 20-04, including, but not limited to, the defendant shall not commit
         another federal;, state of local crime, and exclude condition no. 14.


2.       The defendant shall refrain from any unlawful use of a controlled substance. As directed by the
         Probation Officer, the defendant shall submit to one drug test within 15 days of release from
         imprisonment. Thereafter, defendant shall also submit to periodic testing as directed by the Probation
         Officer, not to exceed eight tests per month:


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3.       The defendant shall comply with the immigration rules and regulations of the United States, and when
         deported from this country , either voluntarily or involuntarily, not reenter the United States illegally.
         The defendant is not required to report to the Probation Office while residing outside of the United
         States; however, within 72 hours of release from any custody or any reentry to the United States
         during the period of Court-ordered supervision, the defendant shall report for instructions to the U.S.
         Probation Office located at the United States Courthouse, 300 N. Los Angeles Street, Suite 1300, Los
         Angeles, California 90012.



4.       The defendant shall not obtain or possess any driver’s license, Social Security number, birth
         certificate, passport, or any other form of identification in any name, other than the defendant’s true
         legal name, without the prior written approval of the Probation officer; nor shall the defendant use, for
         any purpose or in any manner, any name other than his true legal name.

5.       The defendant shall cooperate in the collection of a DNA sample from himself.



       Having carefully considered Section 5D1.1(c) of the Guidelines and the accompanying commentary,
the Court finds that a term of supervised release is appropriate in this case. The Court further finds that the
duration, terms, and conditions of supervised release are reasonably related to the history and
characteristics of defendant, the need for the sentence imposed to afford adequate deterrence to criminal
conduct, and the need to protect the public from further crimes of defendant. The Court also finds that the
duration, terms, and conditions of supervised release involve no greater deprivation of liberty than is
reasonably necessary and are consistent with any pertinent policy statements issued by the Sentencing
Commission.
         The Court finds the entire sentence as stated to be reasonable and appropriate given consideration of

the factors set forth in 18 U.S.C. § 3553, including: under factor (a)(1), defendant’s history of committing a

crime in the United States and then returning illegally to the United States following deportation; under factor

(a)(2)(A), the need for the sentence to promote respect for the laws and sufficiently and justly punish

defendant for this serious offense; under factor (a)(2)(B), the need for the sentence to impress upon

defendant and others the seriousness of his offense of illegally returning to the United States and deter him,

specifically, and others, generally, from returning illegally; under factor (a)(2)(C), the need for the sentence

and defendant’s anticipated subsequent deportation to protect the public from further crimes of defendant;

and under factor (a)(6), the need to avoid unwarranted sentence disparities with other similarly situated

defendants convicted under the United States Attorney’s Office’s Illegal Re-entry Fast Track Program. The

Court also considered mitigating factors in this case, particularly defendant’s guilty plea pursuant to the fast

track early disposition program and the resulting benefits to the government and judicial system, including



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the efficient use of the resources of this Court, the United States Probation and Pretrial Services Office, and

the government.



 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            July 7, 2025
            Date                                                  U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                  Clerk, U.S. District Court



            July 7, 2025                                    By    Sheila English /s/
            Filed Date                                            Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                             STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                             While the defendant is on probation or supervised release pursuant to this judgment:




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 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
 2.    The defendant must report to the probation office in the federal              convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a             officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                    the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                  that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by            rehabilitation;
       the court or probation officer;                                         10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                  purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation              controlled substance, or any paraphernalia related to such substances,
       officer;                                                                      except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation     11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment             arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;            12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation             destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before   13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                 enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;               permission of the court;
 7.    The defendant must permit the probation officer to contact him or       14.   As directed by the probation officer, the defendant must notify specific
       her at any time at home or elsewhere and must permit confiscation             persons and organizations of specific risks posed by the defendant to
       of any contraband prohibited by law or the terms of supervision and           those persons and organizations and must permit the probation officer to
       observed in plain view by the probation officer;                              confirm the defendant’s compliance with such requirement and to make
 8.    The defendant must work at a lawful occupation unless excused by              such notifications;
       the probation officer for schooling, training, or other acceptable      15.   The defendant must follow the instructions of the probation officer to
       reasons and must notify the probation officer at least ten days               implement the orders of the court, afford adequate deterrence from
       before any change in employment or within 72 hours of an                      criminal conduct, protect the public from further crimes of the
       unanticipated change;                                                         defendant; and provide the defendant with needed educational or
                                                                                     vocational training, medical care, or other correctional treatment in the
                                                                                     most effective manner.




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             The defendant must also comply with the following special conditions (set forth below).


           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. §
 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

         The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts, including
 any business accounts, must be disclosed to the Probation Officer upon request.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




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